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 8                               UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
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11 UNITED STATES OF AMERICA,
                                                      NO. CR. S-09-0500 KJM
12                  Plaintiff,
13          v.                                        ORDER
14 RAE LEONARD YOUNG,
15               Defendant.
     ________________________________/
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17          By stipulation and order, dated June 29, 2011, this case was scheduled for a July
18 14, 2011 status conference. On Wednesday, July 13, 2011 at 10:50 a.m., counsel sought
19 to continue the scheduled hearing. In light of this tardy request for a continuance, it is
20 hereby ORDERED that within seven days, the parties shall file a joint statement
21 acknowledging their understanding of the court’s policy regarding timely filing of
22 requests to continue.
23 DATED: July 13, 2011.
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26                                              UNITED STATES DISTRICT JUDGE

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